      Case 3:19-cv-20674-GC-DEA Document 113 Filed 11/21/22 Page 1 of 2 PageID: 790




                                                State of New Jersey
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   Lt. Governor                                             PO Box 112                                                Director
                                                       TRENTON, NJ 08625




                                                November 17, 2022
       VIA E-MAIL
       Hon. Douglas E. Arpert, U.S.M.J.
       U.S. District Court - District of New Jersey
       Clarkson S. Fisher Building & U.S. Courthouse
       402 East State Street
       Trenton, NJ 08608

                  Re:   Sorokina v. The College of New Jersey
                        Docket No. 19-cv-20674

       Dear Judge Arpert:

            This office represents defendant, The College of New Jersey, in
       the above-docketed matter and dispositive motions are scheduled to be
       filed by December 9, 2022.

              With the consent of my adversary, I am   requesting that the
       filing deadline be changed to January 27, 2023. During our November
       7, 2022 status conference before Your Honor I advised that I
       might need additional time due to a recent medical issue, and it
       turns out I will need the additional time.

                  Thank you.




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  Case 3:19-cv-20674-GC-DEA Document 113 Filed 11/21/22 Page 2 of 2 PageID: 791
                                                         November 17, 2022
                                                                       Page 2


                               Respectfully submitted,

                               MATTHEW J. PLATKIN
                               Acting Attorney General of New Jersey

                               By: /s/ John P. Cascio
                                   John P. Cascio
                                   Deputy Attorney General


   cc:   S. Joseph Litvak, Esq. (via email)




**In order to accommodate counsel's request for additional time, the Clerk
is directed to administratively terminate this action from the Court's
active docket, subject to reinstatement upon the filing of defendant's
dispositive motion.




                 SO ORDERED on this 21st day of November 2022,




                     __________________________
                     DOUGLAS E. ARPERT
                     UNITED STATES MAGISTRATE JUDGE
